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    "'AO 2458     (Rev. 9/00) Judgment in a Criminal Case
                  Sheet 1


                                            UNITED STATES DISTRICT COURT                                                C.LERK, u.s. DISm:CT COURT
                                                                                                                      SOU fHERN DISTRiCT OF CALIF'
                                                 SOUTHERN DISTRICT OF CALIFORNIA                                      BY             ~__~~~~~
                   UNITED STATES OF AMERICA                                       JUDGMENT IN A CRIMINAL CASE
                                       v.                                         (For Offenses Committed On or After November I, 1987)

                           DAVID KIPPER (20)                                      Case Number: 15CR231 0-WQH

                                                                                   DANIEL GREEN, RET
                                                                                 Defendant's Attorney
   REGISTRATION NO. 89501083

   o
   TIlE DEFENDANT:
   ~ pleaded guilty to count(s) 2 OF THE SUPERSEDING INDICTMENT

   o    was found guilty on count(s) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
        after a plea of not guilty.
        Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                 Count
   Title & Section                   Nature of Offeuse                                                          Number!s)
18 USC 1955                          ILLLEGAL GAMBLING BUSINESS                                                                           2




           The defendant is sentenced as provided in pages 2 through _ _--"4'-__ of this judgment. The sentence is imposed pursuant
   to the Sentencing Reform Act of 1984.
   o     The defendant has been found not guilty on count(s),_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
   o     Count(s) _ _ _ _ _ _ _ _ _ _ _ __                                  is 0     areDdismissed on the motion of the United States.
   ~     Assessment: $100.00




   o     Fine ordered waived                o   Forfeiture pursuant to order filed _ _ _ _ _ _ _ _ _ _ , included herein.
             IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change of name, residence,
    or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
    defendant shall notify the court and United States Attorney of any material change in the defendant1s economic circumstances.


                                                                                   OCTOBER 5, 2016
                                                                                 Date of Imposition of Sentence




                                                                                                                  l5CR23l0-WQH
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AO 245D       (Rev. 3/10) Judgment in a Criminal Case for Revocations
              Sheet 2 -- Probation
                                                                                                         Judgment Page       2    of      4
DEFENDANT: DAVID KIPPER (20)
CASE NUMBER: 15CR2310-WQH
                                                                        PROBATION
The defendant is herebv sentenced to nrobation for a term of:
 5 years

The defendant shall not commit another federal, state, or local crime.
For offenses committed on or after September 13, 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of placement on probation and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than       drug tests per month during
the term of supervision, unless otherwise ordered by court.                                         --

D The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
  future substance abuse. (Check, if applicable.)
       The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
       The defendant shall cooperate in the collection of a DNA sample from the defendant, pursuant to section 3 of the DNA Analysis
       Backlog Elimination Act of2000, pursuant to 18 USC sections 3563(a)(7) and 3583(d).
       The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works,
       or is a student, as directed by the probation officer. (Check, if applicable.)
o      The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
          If this judgment imposes a fine or restitution obligation, it is a condition of probation that the defendant pay any such fine or
restitution in accordance with the Schedule of Payments sheet of this judgment.
        The defendant shall comply with the standard conditions that have been adopted by this court (set forth below). The defendant shall
also comply with the special conditions imposed.

                                        STANDARD CONDITIONS OF SUPERVISION
  1)     the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)     the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days
         of each month;
  3)     the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)     the defendant shall support his or her dependents and meet other family responsibilities;
  5)     the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
         acceptable reasons;
  6)     the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)     the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled
         substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)     the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)     the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
         a felony, unless granted permission to do so by the probation officer;
 10)     the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of
         any contraband observed in plain view of the probation officer;
 11)    the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement
        officer;
 12)    the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
        permission of the court; and
 13)    as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's
        criminal record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm
        the defendant's compliance with such notification requirement.


                                                                                                                                 15CR2310-WQH
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        AO 245B     (Rev. 9/00) Judgment in a Criminal Case
                    Sheet 4 -   Special Conditions
                                                                                                           Judgment-Page   ----1....- of _...;4,,-_ _
        DEFENDANT: DAVID KIPPER (20)                                                                  o
        CASE NUMBER: 15CR2310-WQH




                                                 SPECIAL CONDITIONS OF SUPERVISION
[gI Submit person, residence, office or vehicle to a search, conducted by a United States Probation Officer at a reasonable time and in a
    reasonable manner, based upon reasonable suspicion of contraband or evidence of a violation of a condition of release; failure to submit to a
    search may be grounds for revocation; the defendant shall warn any other residents that the premises may be subject to searches pursuant to
    this condition.

D If deported, excluded, or allowed to voluntarily return to country of origin, not reenter the United States illegally and report to the probation
    officer with 24 hours of any reentry to the United States; supervision waived upon deportation, exclusion or voluntary departure.
D Not transport, harbor, or assist undocumented aliens.
D Not associate with undocumented aliens or alien smugglers.
D Not reenter the United States illegally.
D Not enter the Republic of Mexico without written pennission of the Court or probation officer.
[81 Report all vehicles owned or operated, or in which you have an interest, to the probation officer.
D Not possess any narcotic drug or controlled substance without a lawful medical prescription.
D Not associate with known users of, smugglers of, or dealers in narcotics, controlled substances, or dangerous drugs in any fonn.
181 Notify the Collections Unit, United States Attorney's Office, before transferring any interest in property owned, directly or indirectly,
    including any interest held or owned under any other name, or entity, including a trust, partnership or corporation.



D Take no medication containing a controlled substance without valid medical prescription, and provide proof of prescription to the probation
    officer, if directed.
[gJ Provide complete disclosure of personal and business financial records to the probation officer as requested.
D Be prohibited from opening checking accounts or incurring new credit charges or opening additional lines of credit without approval of the
    probation officer.
D Seek and maintain full time employment andlor schooling or a combination of both.
D Resolve all outstanding warrants within        days.
D Complete 100 hours of community service in a program approved by the probation officer within
D Reside in a Residential Reentry Center (RRC) as directed by the probation officer for a period of
D Comply with the conditions of the Horne Confinement Program for a period of                       months and remain at your residence
    except for activities or employment as approved by the court or probation officer.

181 Notify the Collections Unit, United States Attorney's Office, of any interest in property obtained, directly or indirectly, including any interest
    obtained under any other name, or entity, including a trust, partnership or corporation until the fine or restitution is paid in full.




                                                                                                                                       15CR2310-WQH
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AO 2458      Judgment in Criminal Case
             Sheet 5 - Criminal Monetary Penalties

                                                                                                   Judgment _ Page _ _4~_ of    4
 DEFENDANT: DAVID KIPPER (20)                                                                II
 CASE NUMBER: l5CR2310-WQH

                                                                     FINE

      The defendant shall pay a fine in the amount of _ _ _..:.$_7:...,5_0_0_.0_0_ _ _un
                                                                                      .to the United States of America.




          This sum shall be paid __ immediately.
                                  " as follows:


          Pay a fine in the amount of$7,500 through the Clerk, U. S. District Court. Payment of fine shall be forthwith.
          During any period of incarceration the defendant shall pay fine through the Inmate Financial Responsibility
          Program at the rate of50% of the defendant's income, or $25.00 per quarter, whichever is greater. The defendant
          shall pay the fine during his probation at the rate of $200 per month. These payment schedules do not foreclose the
          United States from exercising all legal actions, remedies, and process available to it to collect the fine
          judgment at any time. Until fine has been paid, the defendant shall notilY the Clerk ofthe Court and the United
           States Attorney's Office of any change in the defendant's mailing or residence address, no later
           than thirty (30) days after the change occurs.


          The Court has determined that the defendant _ _ _ _ _ have the ability to pay interest. It is ordered that:

   __ The interest requirement is waived.


           The interest is modified as follows:




                                                                                                  l5CR2310-WQH
